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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  PENNSYLVANIA GENERAL ENERGY )
  COMPANY, LLC,               )
                              )                   Civil Action No. 14-cv-209 ERIE
            Plaintiff         )
                              )                   Magistrate Judge Susan Paradise Baxter
  v.                          )
                              )
  GRANT TOWNSHIP,             )
                              )
            Defendant.        )




                                    PROPOSED ORDER

       THIS ___ day of _____________, 2019, the Court GRANTS the Motion for Approval of

Alternative Security and Stay of Execution of Sanctions Order and enters the following ORDER:

       1. Enforcement of the Order of Sanctions of January 5, 2018 (Doc. 290) is stayed pending
          full resolution of all appeals pertaining to the Order.

       2. As a condition of the stay:

          a. The sum of $52,000.00 shall be escrowed by or on behalf of Thomas A. Linzey and
             Elizabeth Dunne (collectively “Sanctioned Lawyers”) in an interest-bearing
             account with a financial institution.

          b. The escrowed sum shall be held by the financial institution until further Order of
             Court.

          c. The Sanctioned Lawyers shall pay all administrative costs associated with setting
             up and maintaining the funds in escrow such that the total sum of $52,000.00 is not
             reduced in any way during the appeal.

          d. The Sanctioned Lawyers will provide PGE with proof of such escrow account and
             the amount held in said account within 14 calendar days of this Order.



                                                   _____________________________
                                                   J.
